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                             NO. 22-13218

            UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT
                     ________________
                          VIRGINIA REDDING
                                Plaintiff-Appellee,

                                   v.

                          COLOPLAST CORP.,
                                Defendant-Appellant.
                          ________________

         On Appeal from the United States District Court for
     the Middle District of Florida, No. 6:19-cv-01857-CEM-GJK
            Hon. Carlos E. Mendoza U.S. District Judge
                           ________________

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January 6, 2023
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          CERTIFICATE OF INTERESTED PERSONS
         AND CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th

Circuit Local Rule 26.1-1, Defendant-Appellant Coloplast Corp., hereby

files its certificate of interested persons and corporate disclosure

statement as follows:


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           Florida)

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     Defendant/Appellant Coloplast Corp., a privately held corporation,

is a wholly owned subsidiary of Coloplast A/S, a publicly held foreign

corporation (COLO-B, Nasdaq Copenhagen).

                                   /s/ Val Leppert
                                   Val Leppert
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          STATEMENT REGARDING ORAL ARGUMENT

     Coloplast believes that oral argument would assist the Court in

deciding this case. This appeal raises critical and often-recurring issues

concerning the application of Florida’s statute of limitations in medical-

device product-liability cases.   There is also a voluminous record

following an almost two-week jury trial involving scientific and medical

testimony. Oral argument would enhance the Court’s understanding of

the legal and medical concepts at issue in this case.
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                           INTRODUCTION

     In this product-liability case, Plaintiff Virginia Redding alleged

that pelvic-mesh medical devices sold by Coloplast were defectively

designed because the devices eroded inside of her body and thereby

caused infections, pain, and bad odor. A jury in the Middle District of

Florida agreed with Plaintiff and awarded her $2.5 million in damages.

     On appeal, Coloplast challenges the district court’s denial of its

motion for judgment as a matter of law based on Florida’s four-year

statute of limitations for product-liability cases.         The record is

undisputed that Plaintiff was diagnosed with a mesh erosion in

December 2009, more than four years before she filed suit on September

28, 2014. Plaintiff’s doctor told her in December 2009 that the mesh

device had eroded and was causing her pain, infection, and odor. Plaintiff

thus had actual knowledge of the condition that is the premise of her

lawsuit. She further confirmed at trial that the infection and pain that

she experienced before the September 28, 2010 cut-off date were “the

same complaints” she experienced in 2014 when she filed this case. And

beyond that, Plaintiff even understood back in December 2009 that “there

was something wrong” with the mesh device.
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     Against this record, there is no question that Plaintiff’s claim is

time-barred. Actual knowledge of the relevant injury and its link to a

product easily triggers Florida’s statute of limitations in product liability

cases. All that is required is “some evidence of causal relationship”

between the injury and the product, Carter v. Brown & Williamson

Tobacco Corp., 778 So. 2d 932, 934 (Fla. 2000), to put the plaintiff on

notice of a “possible invasion of [her] legal rights,” Univ. of Miami v.

Bogorff, 583 So. 2d 1000, 1004 (Fla. 1991).

     The district court denied Coloplast’s motion based on its reading of

this Court’s decision in Eghnayem v. Boston Scientific Corp., 873 F.3d

1304 (11th Cir. 2017).     But that was error.       Unlike the plaintiff in

Eghnayem, Plaintiff here had knowledge of the relevant condition

(erosion), its source (the mesh product), her symptoms (pain, odor,

discharge), and that “something was wrong” with the mesh product more

than four years before she sued. So unlike in Eghnayem, there was no

question of fact as to whether Plaintiff reasonably attributed her problem

to the surgical procedure as opposed to the device. And, again unlike

Eghnayem, there was no need for Coloplast to show that Plaintiff’s

symptoms were “distinct” from normal post-surgery complications to



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independently put her on notice of a potential claim. She was diagnosed

with a condition that is linked only to the product, and she believed that

something was wrong with the product before the cut-off date. That’s

more than enough notice to start the limitations period in Florida.

     The district court’s contrary conclusion, based on its overbroad

reading of Eghnayem, is inconsistent with Florida law. If the Court has

any doubt about that, it should certify a question to the Florida Supreme

Court.   After all, the Florida Supreme Court has never imposed a

“distinct injury” requirement to commence the limitations period in a

product-liability case, let alone in a case where the plaintiff had actual

knowledge of the relevant injury and its causal connection to the product.

This Court should not adopt the district court’s expansion of Florida law

without first allowing the Florida Supreme Court to weigh in.

                    STATEMENT OF THE ISSUE

     Whether the district court erred in denying judgment as a matter

of law in favor of Coloplast based on Florida’s statute of limitations.

                  JURISDICTIONAL STATEMENT

     The district court had diversity jurisdiction over this case under 28

U.S.C. § 1332 because the parties are citizens of different states and the

amount in controversy exceeds $75,000. This Court has jurisdiction to

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address this appeal under 28 U.S.C. § 1291 because it arises from a final

judgment signed by the district court judge on August 25, 2022. Dkt. No.

413, at 2.

                     STATEMENT OF THE CASE

      A.     Factual background

      While using the restroom one day in 2008, Plaintiff Virginia

Redding felt “something coming out of [her] like an intestine or

something.” Dkt. No. 342 (Trial Tr., Vol. 5, at 523:1–4). Not knowing

what it was, Plaintiff “kind of pushed it back up, but it came back down

again.” Id. at 523:5–7. Plaintiff consulted her doctor about the issue but

was assured that it was “something that happens” following childbirth.

Id. at 523:6–9. Accordingly, she “assumed that it would maybe kind of go

back up on its own.” Id. at 523:9–10.

      But the issue did not resolve itself. Id. at 523:11–12. As the bulge

continued to grow in 2009, it also became more painful. Id. at 523:13–

16.    During that time, Plaintiff also dealt with stress urinary

incontinence, causing her to wear pads and panty liners. Id. at 524:16–

22. After the pain became “unbearable,” Plaintiff decided to consult a

new doctor. Id. at 523:19–20; 525:1–2. Plaintiff first saw her primary

care provider but was ultimately referred to Dr. Robert Weaver.

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     On November 6, 2009, Dr. Weaver diagnosed Plaintiff with pelvic

organ prolapse, Dkt. No. 351 (Trial Tr., Vol. 7, at 982:16–983:16), a

condition where increased pressure on the pelvic floor results in sagging

and loss of support, Dkt. No. 336 (Trial Tr., Vol. 3, at 324:3–17). Pelvic

organ prolapse, often the result of childbirth, can cause the bladder,

uterus, or rectum to fall. Id. at 324:3–22. Dr. Weaver also diagnosed

Plaintiff with bladder neck hypermobility, which he believed could

possibly be causing “stress [urinary] incontinence,” an involuntary

leaking of urine. Dkt. No. 351 (Trial Tr., Vol. 7, at 983:10–16).

     Dr. Weaver walked Plaintiff through possible treatment options,

including a hysterectomy and surgically implanting a mesh sling. Id. at

525:21–526:15. Because Plaintiff “didn’t feel comfortable with having a

hysterectomy,” she opted for the mesh device. Id. at 526:10–12. On

December 15, 2009, Plaintiff had two of Coloplast’s mesh products

surgically implanted: NovaSilk™ and Supris®. Dkt. No. 342 (Trial Tr.,

Vol. 5, at 517:22–518:1). NovaSilk is a polypropylene mesh that provides

“lost support” to the vaginal wall, Dkt. No. 353 (Trial Tr., Vol. 8, at 988:9–

989:1), whereas Supris is a polypropylene mesh sling that provides




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support to the bladder neck to prevent urine leakage during stress

maneuvers, Dkt. No. 336 (Trial Tr., Vol. 3, at 360:20–361:17).

     Before surgery, Dr. Weaver informed Plaintiff “about a risk of

[mesh] erosion,” Dkt. No. 342 (Trial Tr., Vol. 5, at 526:19–21), where an

inflammatory reaction with tissue causes an infection and can lead to the

material becoming visible in the vagina or even piercing vaginal tissue.

Dkt. No. 379 (Trial Tr., Vol. 13, at 1511:14–23). Despite those risks,

Plaintiff chose to go forward with the surgery because she “wanted to

have more of a – much more of a comfortable life than what [she] was”

having. Dkt. No. 342 (Trial Tr., Vol. 5, at 527:8–11).

     Following her surgery on December 15, 2009, Plaintiff “experienced

some pain and some bleeding.”      Id. at 527:18–23. Over the next six

months, Plaintiff had five follow-ups with Dr. Weaver concerning her

post-surgery symptoms.        During those follow-ups, Plaintiff was

repeatedly told that a mesh erosion was causing her symptoms.

     For instance, during her December 28, 2009 follow-up with Dr.

Weaver, Plaintiff complained of a distinct odor and sharp pain in the

bottom of her stomach that made her “vagina area ache[ ] like a




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toothache.” Id. at 530:1–13. At that time, Dr. Weaver told Plaintiff that

she “had an erosion of the mesh.” Id. at 556:3–5.

     Plaintiff “understood as of that date, December 28, 2009, that there

was an erosion of the mesh occurring in [her] vagina,” and “that it was

infected and creating an odor.” Id. at 556:9–15. She was told again on

January 13, 2010, id. at 557:21–23, again on February 10, 2010, id. at

558:2–10, and again on March 18, 2010, id. at 558:11–13. During that

fourth visit, Plaintiff complained that her bulge was returning, causing

her discomfort while standing. Id. at 558:19–21. During Plaintiff’s fifth

and final follow-up with Dr. Weaver on May 10, 2010, she complained

that she was having trouble emptying her bladder. Id. at 559:17–560:2.

     In light of what Plaintiff was told about her mesh erosion and the

pain she was experiencing as a result, Plaintiff also understood in

December 2009 that “there was something wrong” with the mesh device.

Id. at 530:16–22.

     Following her May 2010 visit, Plaintiff did not see Dr. Weaver or

any other doctor about the issue until 2014, Dkt. No. 342 (Trial Tr., Vol.

5, at 562:17–23), even though Plaintiff continued to experience erosion,

infection, pain, and incontinence, id. at 563:10–13. During this time,



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Plaintiff took no steps to investigate the cause of her symptoms: she did

not do any research, id. at 561:3–7, did not return to Dr. Weaver, id. at

561:8–13, and did not seek a second opinion from an OBGYN, id. That’s

understandable—after all, Plaintiff had already been told by Dr. Weaver

on five occasions that a mesh erosion was causing her symptoms.

     More than four years later, on June 12, 2014, Plaintiff began

treatment with Dr. Stephen McCarus. Dkt. No. 344 (Trial Tr., Vol 6, at

622:12–17). Plaintiff came to Dr. McCarus complaining of vaginal

bleeding and pelvic pain. Id. at 622:15–17. Dr. McCarus diagnosed

Plaintiff with organ prolapse and mesh erosion, Id. at 623:16–624:1, and

performed two mesh removal surgeries. Dkt. No. 342 (Trial Tr., Vol. 5,

at 536:5–19). Notably, the complaints Plaintiff reported to Dr. McCarus

in June 2014 were “the same complaints” she had in December 2009. Id.

at 563:20–24; compare Dkt. No. 342 (Trial Tr., Vol. 5, at 527:18–21;

533:18–534:4, 554:20–556:15, 557:21–558:1, 558:7–559:3, 559:19–22)

(describing symptoms during visits with Dr. Weaver) with id. at 521:3–

8, 532:2–5, 534:7–8; 535:21–536:4, 559:17–22; 563:10–24 (describing

symptoms after stopping treatment with Dr. Weaver).




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     Shortly after receiving Dr. McCarus’s diagnosis of mesh erosion in

the summer of 2014—her sixth diagnosis of mesh erosion going back to

December 2009—Plaintiff finally brought suit on September 28, 2014.

     B.    Proceedings below

           1.    Plaintiff’s case

     Plaintiff initially filed suit against Coloplast in the United States

District Court for the Southern District of West Virginia as part of the

mesh MDL, but the case was later transferred to the Middle District of

Florida. Dkt. No. 3, at 1–2.

     Plaintiff alleged that Coloplast’s mesh was defectively designed and

that Coloplast failed to provide adequate warnings for its products. Dkt.

No. 1, at 5. The design claim asserted that Coloplast’s products used

polypropylene mesh, which—according to Plaintiff—can cause “painful

recurrent erosions and associated intractable pain.” Dkt. No. 66-13, at

16–17. As explained more below, much of Plaintiff’s claim was that

Coloplast’s mesh devices erode too often when implanted into the female

pelvic area and thus the risks of the design outweigh its benefits.




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           2.    Coloplast’s motion for summary judgment

     Following discovery, Coloplast moved for summary judgment

because Plaintiff’s suit was time-barred under Florida law. Dkt. No. 53,

at 2. Under Florida Statute § 95.031(2)(B), a product-liability suit must

be filed within four years “from the date that the facts giving rise to the

cause of action were discovered, or should have been discovered with the

exercise of due diligence.” Fla. Stat. § 95.031(2)(B). Coloplast explained

that Plaintiff’s diagnosis of mesh erosion, coupled with Dr. Weaver telling

Plaintiff that the erosion was causing her symptoms, was enough to put

her on “notice, through the exercise of reasonable diligence, of the

possible invasion of [her] legal rights.” Bogorff, 583 So. 2d at 1004.

     After noting that Coloplast’s statute of limitations argument

“ma[de] a certain amount of logical sense,” the district court nonetheless

denied the motion, concluding that this Court’s precedent “compel[led]

the opposite conclusion.” Dkt. No. 110, at 5. The district court found that

the facts of Eghnayem v. Boston Scientific Corp., 873 F.3d 1304 (11th Cir.

2017), were “strikingly similar to the facts” Plaintiff presented. Dkt. No.

110, at 7. In Eghnayem, this Court rejected a statute of limitations

defense involving a claim of defective vaginal mesh. 873 F.3d at 1310–



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11. The district court further relied on this Court’s unpublished opinion

from In re Mentor, 748 F. App’x 212 (11th Cir. 2018), which also involved

a statute of limitations defense for a vaginal mesh suit.

            3.    Trial evidence

      Trial proceeded over the course of nine days. In opening statement,

Plaintiff’s counsel asserted that Coloplast was aware of “high rates of

erosions” in its mesh products, Dkt. No. 332 (Trial Tr., Vol. 2, at 171, 173,

180), that Plaintiff experienced multiple erosions of her mesh, id. at 185,

and that she has suffered significant pain and discomfort as a result, see,

e.g., id. at 180, 185.

      Plaintiff presented several witnesses, starting with Dr. Bruce

Rosenzweig, her general causation expert. Dr. Rosenzweig discussed the

potential complications associated with mesh erosions, such as pain in

various areas of the body, especially during certain activities like

urination or sexual intercourse. Dkt. No. 336 (Trial Tr., Vol. 3, at 345).

Dr. Rosenzweig defined “erosion of mesh” as when “mesh destroys the

tissue either of the vagina . . . or it does the same to the tissue of the

bladder or the urethra,” leading to pain and infection. Id. at 407:8–14.

Because of the risk of mesh erosion and its consequences, Dr. Rosenzweig



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posited that NovaSilk “create[s] more serious long-term complications

than it actually corrects.” Id. at 328:1–4. And, referencing Florida’s

standard for determining a design defect in prescription-device cases, Dr.

Rosenzweig opined that the risks of Coloplast’s mesh devices “outweigh

the benefits.” Dkt. No. 336 (Trial Tr., Vol. 3, at 390).

     Next, Plaintiff took the witness stand. As previewed above, she

testified that she chose pelvic floor reconstruction surgery with two mesh

devices to address her organ prolapse and incontinence. See supra, 4-6.

Following her mesh implantation surgery, Plaintiff began to experience

some troubling symptoms, including a foul odor that prevented her from

being with friends and a sharp pain that ran from the bottom of her

stomach to her vagina. Id. at 530:1–13. Plaintiff testified that she told

Dr. Weaver about these symptoms during her December 28, 2009 follow-

up, roughly two weeks after her surgery. Id. at 530:1–15. Dr. Weaver

examined Plaintiff and diagnosed her with “a small area of erosion.” Id.

at 531:9–17.

     As explained earlier, Dr. Weaver repeated the diagnosis of mesh

erosion five times between December 28, 2009 and May 2010. See supra,

6-7. And based on her discussions with Dr. Weaver, Plaintiff “understood



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as of that date, December 28, 2009, that there was an erosion of the mesh

occurring in [her] vagina,” and “that it was infected and creating an odor.”

Id. at 556:9–15.

     On direct examination, Plaintiff’s counsel asked Plaintiff whether,

on December 28, 2009, she “believed that the products that had been

implanted you in [sic] were unsafe.” Plaintiff responded, “I thought

something was wrong with it, that something was just not – I don’t know.

Something was wrong and I – I don’t know.” Id. at 530:16–22. When

pressed by her counsel, Plaintiff said that while she knew something was

wrong, she did not know exactly what was wrong. Id. at 531:6–8.

     Plaintiff also testified about seeing Dr. McCarus in the summer of

2014, shortly before filing this lawsuit in September 2014. On cross

examination, Plaintiff agreed that “the same complaints that [she]

presented to Dr. McCarus with [in June 2014] of the pain, the odor, the

leaking of urine, [her] bladder starting to fall out again, those were the

complaints [she] had when she saw Dr. Weaver in May of 2010.” Id. at

563:20–24 (emphases added).

     Plaintiff then called Dr. McCarus as a witness. He testified about

diagnosing Plaintiff with multiple erosions in 2014 and performing two



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mesh removal surgeries. See, e.g., Dkt. No. 344 (Trial Tr., Vol. 6, at 626-

27, 629, 631, 636, 639-40, 642).

     After Dr. McCarus, Plaintiff called Dr. Lennox Hoyte, a paid expert

who routinely testifies for plaintiffs in mesh litigation. Dkt. No. 351

(Trial Tr., Vol. 7, at 785). Based on his interpretation of Dr. Weaver’s

medical records, Dr. Hoyte claimed that Plaintiff was “asymptomatic”

during her 2009 and 2010 visits, id. at 803:16–20, and only began

displaying symptoms of mesh erosion in 2014, id. at 814:4–14. Dr. Hoyte

further opined that Plaintiff’s mesh erosion in 2009/2010 was a distinct

and separate erosion from the erosion Plaintiff experienced by 2014. Id.

at 816, 838:21-839:3.

     Plaintiff’s last medical witness was Dr. Weaver. While he had no

independent recollection of Plaintiff, Dr. Weaver testified based on his

records about his treatment of Plaintiff, including warning Plaintiff

about the risk of mesh erosion, performing the implant surgery, and then

diagnosing Plaintiff with mesh erosion multiple times. But Dr. Weaver

also claimed that he was not overly concerned about her erosion because

“it never changed,” “[i]t was never bothering anything,” it was “tiny,” and

he had seen erosions one-hundred times bigger. Dkt. No. 353 (Trial Tr.,



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Vol. 8, at 1059:14–22). He further testified that he believed the erosion

to be “asymptomatic” at the first two post-operative visits because his

medical records did not indicate that Plaintiff reported pain at that time.

Id. at 1012. But Plaintiff did report pain and discomfort on her third visit

on March 18, 2010. Id. at 1023. Dr. Weaver’s records did not indicate,

however, that Plaintiff reported pain on her last visit on May 10, 2010.

Id. at 1025.

     On cross-examination, Dr Weaver acknowledged that “all [he had]

to go on are the written words on [his] medical records.” Dkt. No. 353

(Trial Tr., Vol. 8, at 1037). So “if [Plaintiff now] says she had pain at a

certain time and it’s not in [his] record,” he would not have “any way to

figure out which is right.” Dkt. No. 353 (Trial Tr., Vol. 8, at 1037).

           4.    Motion for judgment as a matter of law

     At the end of Plaintiff’s case, Coloplast moved for judgment as a

matter of law under Federal Rule of Civil Procedure 50(a), Dkt. No. 360,

explaining that Plaintiff’s cause of action accrued before September 28,

2010—i.e., more than four years before she sued. In her memorandum in

opposition, Plaintiff argued that she “had no reason to believe she had a

lawsuit in 2009-2010.” Dkt. No. 383, at 1. She contended that the



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symptoms she presented to Dr. Weaver—“a tiny erosion,” “plus some

drainage and an odor”—were not “sufficiently dramatic” to trigger the

statute of limitations as a matter of Florida law. Id. at 2–3. Plaintiff also

argued that knowledge of an injury connected to a product is not enough

for the statute to accrue; instead, Plaintiff claimed Coloplast needed to

prove that Plaintiff knew that the mesh was defective. Id. at 3–4. The

district court deferred its ruling.

            5.    Verdict and post-trial proceedings

      The jury ultimately found that Plaintiff’s claim was not barred by

the statute of limitations. Dkt. No. 393 (Trial Tr., Vol. 17, at 29:10–11).

The jury also found for Plaintiff on several of her substantive claims and

awarded her $2,500,000 in compensatory damages. Id. at 30:15. After

the trial, Coloplast timely renewed its motion for judgment as a matter

of law under Federal Rule of Procedure 50(b). Dkt. No. 410.

      Roughly three months later, the district court denied Coloplast’s

original motion under Rule 50(a), again relying on Eghnayem and stating

that “the trial record contain[ed] sufficient evidence for a reasonable jury

to find that Plaintiff was not aware of an injury distinct in some way from

conditions naturally to be expected from her implantation and that such



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injury was causally connected to Defendant’s products until after

September 28, 2010.” Dkt. No. 405, at 7 (quotation omitted). The district

court then also denied Coloplast’s Rule 50(b) motion. Dkt. No. 413.

                        STANDARD OF REVIEW

     This Court reviews the denial of a “motion for judgment as a matter

of law de novo, considering only the evidence that may properly be

considered and the reasonable inferences drawn from it in the light most

favorable to the nonmoving party.” Rossbach v. City of Miami, 371 F.3d

1354, 1356 (11th Cir. 2004).

                 SUMMARY OF THE ARGUMENT

     I.A. Plaintiff waited too long to file her case. More than four years

before she sued, Plaintiff was diagnosed with pelvic pain caused by an

erosion of the mesh device—the condition that is the premise of her

lawsuit.   Plaintiff also admitted that several months before the

September 28, 2010 cut-off date, she already experienced the same type

of infection and pain for which she sought and recovered damages in this

case. Even further, Plaintiff thought that “something was wrong” with

the mesh product more than four years before she filed her case.

     By any reasonable view of this record, Plaintiff’s case is time-barred

under Florida’s four-year statute of limitations. In a product-liability

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case like this one, the statute undoubtedly begins to run when the

claimant is aware of her injury and a possible causal link to the

defendant’s product. Plaintiff here was told by a doctor that her pain was

caused by a mesh erosion—a diagnosis that literally links the product to

the injury and led Plaintiff to conclude that “something was wrong” with

the product, not with the surgical procedure.           Florida law requires

nothing further for the limitations period to commence.

      B.      The district court denied Coloplast’s motion based on its

misapplication of this Court’s decision in Eghnayem v. Boston Scientific

Corp., 873 F.3d 1304 (11th Cir. 2017). Unlike the plaintiff in Eghnayem,

Plaintiff here had knowledge of the relevant condition (erosion), its

source (the mesh product), her symptoms (pain, odor, discharge), and

that “something was wrong” with the mesh product more than four years

before she sued. So unlike in Eghnayem, there was no reasonable dispute

as to whether Plaintiff attributed her complaints to the device as opposed

to the surgical procedure.

      Again unlike Eghnayem, this case simply does not turn on whether

Plaintiff’s    symptoms   were   “distinct”    from     normal     post-surgery

complications or “sufficiently dramatic” to independently put her on



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notice of a potential claim against Coloplast. She was diagnosed with a

condition that is linked only to the product, which led her to believe that

something was wrong with the product more than four years before she

filed suit. Actual knowledge of an injury and its link to the product easily

triggers the limitations period in a product-liability case. A “distinct

injury” was thus not necessary to provide notice to Plaintiff. The district

court’s contrary conclusion, based on its overbroad reading of Eghnayem,

renders Florida’s statute of limitations virtually non-existent.

     C. Plaintiff’s other counterarguments are also unpersuasive. In

opposing Coloplast’s Rule 50 motion, Plaintiff argued that the mesh

erosion was “tiny” and that her symptoms before the September 28, 2010

cut-off date could have just been “common side effect[s] of the surgery”

and thus were not sufficient to alert her of a defect in the mesh. Each of

these points misses the mark. To begin, Plaintiff testified that she had

significant complaints before the cut-off date and that these complaints

were “the same complaints” she had in 2014 when she filed this lawsuit.

But in any event, Florida’ statute of limitations is not postponed just

because the full extent of her damages is not yet apparent. The clock




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begins to run when the plaintiff has actual or constructive notice of the

first invasion of her legal rights.

      Plaintiff also misfires with her discussion of “common side effects.”

She was diagnosed with a mesh erosion—the condition at issue in this

lawsuit—and she understood that “something was wrong” with the mesh

product. So even if Plaintiff believed that mesh erosions are “common

side effects,” she was still on notice of the facts giving rise to this lawsuit.

Plaintiff’s own theory was that mesh devices are defectively designed

because mesh erosions are a side effect that is too common.

      Equally unavailing is Plaintiff’s suggestion that she did not have

sufficient notice of a defect in the product. No Florida appellate court has

ever required notice of a product defect for the limitations period to

trigger. Instead, the Florida Supreme Court has required only “some

evidence of causal relationship” between the injury and the product,

Brown & Williamson, 778 So. 2d at 934, to put the plaintiff on notice of a

“possible invasion of [her] legal rights,” Bogorff, 583 So. 2d at 1004.

      But in any event, Plaintiff here was diagnosed with a mesh erosion

and understood the link between her injury and the product. And she

thought “something was wrong” with the product in December 2009. So



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even assuming notice of a possible defect were required under Florida

law, Plaintiff’s claim would still be time-barred.

     II. If this Court has any inclination to affirm the judgment based

on the district court’s understanding of Florida law, it should allow the

Florida Supreme Court to weigh in first. As explained in this brief, the

Florida Supreme Court has never required a “distinct injury” in a

product-liability case, let alone in a case with an actual diagnosis that

links the product to the injury. Nor has the Florida Supreme Court ever

required notice of a product defect. But the district court and Plaintiff

read this Court’s decision in Eghnayem to always require both elements

to trigger Florida’s statute of limitations. The Florida Supreme Court

has not had a chance to address these issues in a medical device case. If

Eghnayem really means what the district court and Plaintiff think, then

it’s high time to ask the Florida Supreme Court whether it agrees with

such novel expansions of Florida law.




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                              ARGUMENT

I.   The District Court Erred In Denying Judgment As A Matter
     Of Law In Favor Of Coloplast

     A.    Florida’s statute of limitations bars Plaintiff’s claim as
           a matter of law

     1. The Florida Legislature has determined that a plaintiff has four

years to commence a product-liability suit. Fla. Stat. § 95.031(2)(b). The

Legislature further directed that the four-year period begins to run “from

the date that the facts giving rise to the cause of action were discovered,

or should have been discovered with the exercise of due diligence.” Id.

     Applying the Legislature’s directive, the Supreme Court of Florida

has held that an action for products liability accrues when a plaintiff’s

injuries “manifest themselves . . . in a way which supplies some evidence

of a causal relationship to the manufactured product.” Carter v. Brown

& Williamson Tobacco Corp., 778 So. 2d 932, 934 (Fla. 2000). “The

knowledge required to commence the limitation period, however, does not

rise to that of legal certainty.” Univ. of Miami v. Bogorff, 583 So. 2d 1000,

1004 (Fla. 1991), holding modified on other grounds by Tanner v. Hartog,

618 So. 2d 177 (Fla. 1993). Rather, “[p]laintiffs need only have notice,

through the exercise of reasonable diligence, of the possible invasion of

their legal rights.” Id. (emphasis added).


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     2. Here, there is no legitimate question that Plaintiff’s claim

accrued more than four years before she filed this lawsuit on September

28, 2014. Plaintiff had ample of notice of the “possible invasion of [her]

legal rights,” Bogorff, 583 So. 2d at 1004, several months before the

September 28, 2010 cut-off date. As discussed below, the evidence at trial

was undisputed that before September 28, 2010, Plaintiff already (a)

knew she had suffered a mesh erosion, the condition for which she is

suing in this lawsuit, (b) experienced the same kind of pain for which she

recovered $2.5 million in damages at trial, and (c) she understood that

“something was wrong” with the mesh product.

     a. Shortly following her mesh implantation surgery on December

15, 2009, Plaintiff began experiencing symptoms of mesh erosion,

including a distinct odor and sharp pain in the bottom of her stomach

that made her “vagina area ache[ ] like a toothache.” Id. at 530:1–13. As

she confirmed at trial, Plaintiff understood that these symptoms were not

typical post-surgery complications, but instead were a result of a “mesh

erosion:”

     Q. And when he examined you [on December 28, 2009] he told
     you that you had an erosion of the mesh, correct?

     A. Yes.


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     Q. And he told you that that smell that you were experiencing
     was because you were infected in that area, correct?

     A. Yes.

     Q. And you understood as of that date, December 28, 2009,
     that there was an erosion of the mesh occurring in your vagina,
     correct?

     A. Yes.

     Q. And you understood that it was infected and creating an
     odor, correct?

     A. Yes.

Dkt. No. 342 (Trial Tr., Vol. 5, at 556:3–15 (emphases added)). Based on

this alone, Plaintiff had actual knowledge of her mesh erosion by

December 28, 2009. She was diagnosed with the condition (infection and

pain caused by an erosion) that it is the subject of this lawsuit, and her

doctor specifically pointed to the product (“mesh”) as the source of her

condition.

     The Florida Supreme Court has repeatedly held that a diagnosis of

the relevant injury, coupled with “some evidence of causal connection” to

the product, commences the limitations period in product-liability cases.

Brown & Williamson, 778 So. 2d at 934; American Optical Corp. v.

Spiewak, 73 So. 3d 120, 127 (Fla. 2011) (diagnosis of asbestos-related


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diseases was “the event that triggered Florida’s statute of limitations” in

asbestos-liability lawsuit) (emphasis omitted); Bogorff, 583 So. 2d at 1004

(holding in prescription-drug case that awareness of injury and of “the

possible involvement” of the drug “is sufficient for accrual of the[ ] cause

of action.”).

      b.   Plaintiff’s trial testimony further confirmed that before the

limitations cut-off on September 28, 2010, she already experienced the

same symptoms and pain for which she recovered damages in this

lawsuit. Plaintiff explained that the infection she “still get[s] . . . today”

is the same type of infection Dr. Weaver diagnosed in May 2010. Dkt.

No. 342 (Trial Tr., Vol. 5, at 560:25–561:1).          And as the following

exchange demonstrates, Plaintiff already suffered from “the same

complaints” in May 2010 that became the basis of her lawsuit in

September 2014:

      Q. Now, the same complaints that you presented to Dr.
      McCarus with [in June 2014] of the pain, the odor, the leaking
      of urine, your bladder starting to fall out again, those were the
      complaints you had when you saw Dr. Weaver in May of 2010,
      correct?

      A. Yes.

Id. at 563:20–24 (emphases added).



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     This testimony shows that “the facts giving rise to the cause of

action were discovered, or should have been discovered” no later than

May 2010. See Fla. Stat. § 95.031(2)(b). If Plaintiff’s claim did not accrue

upon experiencing the same type of symptoms for which she sought

damages in this case in May 2010, after having been diagnosed with

“mesh erosion” in December 2009, then it never accrued. See Mikhaylov

v. Bilzin Sumberg Baena Price & Axelrod LLP, 346 So. 3d 224, 228 (Fla.

Dist. Ct. App. 2022) (holding that plaintiffs’ claim “accrued when the

Plaintiffs first suffered a concrete loss (i.e., injury) as a proximate cause

of Bilzin’s malpractice. Not a day later.”).

     c.    Although the Florida Supreme Court has never required such

knowledge to trigger the limitations period in a product-liability case,

Plaintiff also had notice of a possible defect in the mesh device more than

four years before she filed this lawsuit.        Plaintiff testified on direct

examination that in December 2009 she already thought that “something

was wrong” with the mesh device:

     Q. On December 28, 2009 . . . [d]id you have some complaints at
     that time for Dr. Weaver about how you were feeling?

     A. I did.
                                   ***



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     Q. Okay. At that time, did you believe that the products that had
     been implanted you in [sic] were unsafe?

     A. I thought something was wrong with it, that something was just
     not – I don’t know. Something was wrong and I – I don’t know.

     Q. But at the time you knew something was wrong?

     A. Yes.

Dkt. No. 342 (Trial Tr., Vol. 5, at 530:16–22 (emphases added)).

     With this record in mind, Plaintiff had more than just the required

“evidence of causal connection” to the product. Brown & Williamson, 778

So. 2d at 934. Plaintiff understood that something was wrong with the

product, which is an axiomatic example of having “notice . . . of the

possible invasion of [one’s] legal rights.” Bogorff, 583 So. 2d at 1004.

     Where a plaintiff is aware of an injury from a product and of a

possible defect in the product, the statute of limitations undoubtedly

begins to run. Under any reasonable view of the record, by May 2010 at

the latest, “the effects of [mesh erosion] manifested themselves to

[Plaintiff] in a way which supplied some evidence of a causal relationship

to the [mesh product].” R.J. Reynolds Tobacco Co. v. Jewett, 106 So. 3d

465, 469 (Fla. Dist. Ct. App. 2012) (internal quotation marks omitted).

Plaintiff’s claim is therefore time-barred as a matter of law.



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      B.    The district court misapplied this Court’s precedent

      As indicated in its denial of summary judgment, the district court’s

analysis was grounded in its understanding of this Court’s decision in

Eghnayem v. Boston Scientific Corp., 873 F.3d 1304 (11th Cir. 2017).

Concluding that the facts of Eghnayem were “strikingly similar” to

Plaintiff’s claim, the district court felt that it could not “reach a different

outcome.” Dkt. No. 110, at 7. This belief continued throughout trial, as

the district court denied judgment as a matter of law, again citing

Eghnayem. Dkt. No. 405, at 7. But the facts of Plaintiff’s case, especially

as further developed at trial, are distinguishable from Eghnayem.

      A closer examination of Eghnayem makes this clear. The defendant

in that case argued that it was entitled to judgment as a matter of law

because    Ms.   Eghnayem      experienced       a   new    symptom—urinary

incontinence—before the limitations cut-off date, and a doctor told her

that the incontinence “was related to the mesh repair.” Eghnayem, 873

F.3d at 1324–25 (internal quotations omitted). This Court disagreed.

Explaining that the defendant needed to show “that Eghnayem was

aware of a dramatic change in her condition” and “that she knew of the

possible involvement of” the vaginal mesh in that change, this Court



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concluded that the claim was not time-barred as a matter of law. Id. at

1324 (quoting Bogorff, 583 So. 2d at 1004) (cleaned up). According to this

Court,   Ms.   Eghnayem’s      only     new      symptom      following     mesh

implantation—urinary incontinence—was not so “obviously unusual” to

put her on notice, because it was not a “sufficiently distinct symptom from

what might have been expected after vaginal surgery.” Id. After all,

urinary incontinence can be a normal side-effect from surgery or from an

underlying medical condition rather than an injury stemming from the

product. Id. And Ms. Eghnayem’s statement that “she believed this new

symptom was related to the mesh repair” also did not start the clock as a

matter of law.    Id.   The phrase “mesh repair” could be reasonably

interpreted to refer to Ms. Eghnayem’s pelvic-floor reconstruction

surgery with a mesh device, as opposed to an erosion of the mesh. Id.

     But this case is different. More than four years before she filed suit,

Plaintiff was diagnosed with a “mesh erosion,” the condition that is the

premise of this lawsuit, and the same pain and symptoms for which

Plaintiff recovered damages in this lawsuit were also already apparent

to her before the cut-off date. Plaintiff candidly admitted that she knew

“there was an erosion of mesh occurring in [her] vagina” and that she



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“understood it was infected and creating an odor.” Dkt. No. 342 (Trial

Tr., Vol. 5, at 556:9–15). On top of that, Plaintiff here already knew that

“something was wrong” with the mesh product. Dkt. No. 342 (Trial Tr.,

Vol. 5, at 530:16–22). So, unlike in Ms. Eghnayem’s case, there is no

question of fact here as to whether Plaintiff reasonably attributed her

problem to the surgical procedure.         Plaintiff made clear on direct

examination that she thought something was wrong with the product—

not the surgical procedure—in December of 2009, which was several

months before the cut-off date. 1

     Contrary to the district court’s overbroad application of Eghnayem,

this case does not turn on whether Plaintiff had a “dramatic change in

condition” or whether her symptoms were “distinct in some way from




1     In its statement of fact in Eghnayem, this Court noted that Ms.
Eghnayem’s doctor told her “that she had exposed mesh in her vagina.”
873 F.3d at 1311. But this Court did not base its legal analysis on Ms.
Eghnayem’s mesh exposure; indeed, the exposure is not mentioned once
in the Court’s statute of limitations analysis. Id. at 1323-24. Besides
that, a mesh “exposure” occurs when a doctor can merely see the suture
or some graft material in the vagina whereas a mesh “erosion” occurs
when that suture or graft material pierces a hollow tube, like the urethral
tube. Dkt. No. 379 (Trial Tr., Vol. 13, at 1511:14-23). In other words, an
erosion is a more severe event than an exposure. And, at any rate,
Plaintiff here had more knowledge than Ms. Eghnayem about her
condition and its source.

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conditions naturally to be expected from the plaintiff’s condition.”

Eghnayem, 873 F. 3d at 1323 (quoting Babush v. Am. Home Prods. Corp.,

589 So. 2d 1379, 1381 (Fla. Dist. Ct. App. 1991)). Plaintiff here had

actual knowledge of the relevant condition, its symptoms, and its causal

connection in 2009. There was no need for a “dramatic change” or a

“distinct injury” to provide additional, independent notice to Plaintiff.

      The district court, not recognizing these material differences,

stretched Eghnayem well past its breaking point. Under the district

court’s holding, a product liability claim does not accrue when a plaintiff

knows they have been injured and what injured them. That is not, and

has never been, an accurate description of Florida law. See Brown &

Williamson, 778 So. 2d at 937 (holding in products liability suit that the

action accrued when plaintiff’s injury manifested itself “in a way which

supplies some evidence of [a] causal relationship to the manufactured

product”) (citation omitted). 2


2     The district court’s decision also was influenced by this Court’s
decision in In re Mentor Corp. Obtape Transobturator Sling Products
Liab. Litig., 748 Fed. App’x 212 (11th Cir. 2018). But that case is
unpublished and thus non-precedential. 11th Cir. R. 36-2; United States
v. Izurieta, 710 F.3d 1176, 1179 (11th Cir. 2013). Beyond that, In re
Mentor is also distinguishable from this case. Unlike Plaintiff here, the


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     C.    Plaintiff’s counterarguments miss the mark

     In opposing Coloplast’s Rule 50 motion, Plaintiff made three

arguments for why her claim is not time-barred. First, Plaintiff argued

that the injuries she suffered before the cut-off date were too minor to

trigger the statute of limitations. Second, Plaintiff claimed that the

statute of limitations was triggered only once she had knowledge that the

mesh was defective—not when she knew the mesh injured her. Finally,

Plaintiff postulated that her mesh erosion could have been a routine

surgical complication rather than the result of a defect in the mesh

product. As explained next, all three arguments lack merit.

     1. According to Plaintiff’s brief in opposition, the symptoms she

presented to Dr. Weaver in 2009 and early 2010 were relatively trivial:

“a tiny erosion that ‘never changed,’ ‘was never bothering anything,’ and

‘was causing no problem.’” Dkt. No. 383 at 6 (quoting Dkt. No. 353 (Trial

Tr., Vol. 8, at 1059:16–22)). Relatedly, Plaintiff claimed that “her injuries

in 2014 were substantially different from [her] injuries in 2009-10,” Id.




plaintiff in In re Mentor “never suspected that the ObTape was defective
or . . . had caused her injuries,” but instead thought she “was just having
an allergy to” the implanted mesh. In re Mentor, 748 Fed. App’x at 214–
15.

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at 9. Based on this, Plaintiff argued that her claim did not accrue before

September 28, 2010.

      This argument fails as a matter of fact and law. During trial,

Plaintiff testified under oath that her symptoms before September 28,

2010 were severe. For instance, during her December 28, 2009 follow-up

with Dr. Weaver, Plaintiff complained of a distinct odor and a sharp pain

in the bottom of her stomach that made her “vagina ache[ ] like a

toothache.” Dkt. No. 342 (Trial Tr., Vol. 5, at 530:1–13). During later

follow-ups, Plaintiff also complained that her bulge was returning,

causing her discomfort while standing, and that she was having trouble

emptying her bowels. Id. at 558:19–560:2.

      The evidence also rebuts Plaintiff’s suggestion that her “injuries in

2014 were substantially different from [her] injuries in 2009-10,” Dkt.

No. 383 at 9. Plaintiff conceded under oath that “the same complaints

that [she] presented to Dr. McCarus with [in June 2014] of the pain, the

odor, the leaking of urine, [her] bladder starting to fall out again, . . . were

the complaints [she] had when [she] saw Dr. Weaver in May of 2010.”

Dkt. No. 342 (Trial Tr., Vol. 5, at 563:20–24 (emphases added)).




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     But in any event, Plaintiff’s argument also fails from a legal

standpoint. Even assuming her injuries in late 2009/early 2010 were not

as severe as they would later become, Florida’s statute of limitation

began to run when the mesh erosion was first diagnosed in December

2009. Under Florida’s “first injury rule,” “the running of the statute [of

limitations] is not postponed by the fact that the actual or substantial

damages do not occur until a later date.” Kipnis v. Bayerische Hypo-Und

Vereinsbank, AG, 202 So. 3d 859, 862 (Fla.), opinion after certified

question answered, 844 F.3d 944 (11th Cir. 2016). Instead, the statute of

limitations begins to run immediately when “an injury, although slight,

is sustained in the consequence of [a] wrongful act.” Id. No matter how

much Plaintiff now tries to trivialize her injuries in 2009 and early 2010,

she was diagnosed with a mesh erosion and suffered the same type of

complaints for which she later brought suit.         The limitations period

started the first time she became aware of these facts, regardless of

whether Plaintiff’s injuries became worse over time or whether she

experienced additional erosions at a later time.

     2. Plaintiff also reasoned that because she did not know that the

mesh was defective before September 2010, her claim is not time-barred.



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Dkt. No. 383 at 7. But that argument also fails as a matter of law and

fact. Legally speaking, a product-liability claim accrues when a plaintiff’s

injuries “manifest themselves . . . in a way which supplies some evidence

of a causal relationship to the manufactured product.”               Brown &

Williamson, 778 So. 2d at 932. Nowhere in Florida law is there an

additional requirement that a plaintiff must also know that a product is

defective before the claim accrues.      The Florida Supreme Court has

examined the statute of limitations in several product liability cases,

such as Bogorff, Brown & Williamson, and Spiewak, and none of those

cases imposed such a requirement. Nor has any other Florida appellate

court ever required knowledge of a defect in the product.

     Factually speaking, Plaintiff was diagnosed with the relevant

injury (pain caused by an erosion) and was made aware of the link to the

product (mesh erosion), which gave Plaintiff plenty of notice “of the

possible invasion of [her] legal rights.” Bogorff, 583 So. 2d at 1004. And

she already believed that “something was wrong” with the product. So

even assuming Florida law required it, Plaintiff had notice of a possible

defect in the product.




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     3. Finally, Plaintiff argued that her symptoms caused by a mesh

erosion in late 2009/early 2010 were “common side effects of the surgery,”

Dkt. No. 383, at 6, and thus were not “sufficiently dramatic” to put her

on notice. Id. at 9.

     There are several flaws with that argument. As an initial matter,

pelvic pain caused by “mesh erosion” is the very condition that is the

premise of this lawsuit. Plaintiff’s own theory is that Coloplast’s mesh

device is defectively designed because the “side effect” (or adverse event)

of “mesh erosion” occurs so frequently that the risks of the product

outweigh its benefits.    See supra, 9, 11-12.      There is no distinction

between a mesh erosion occurring as a “common side effect of the

surgery” and a mesh erosion occurring as a result of an alleged design

defect. Plaintiff’s defect theory is simply that the “common side effect” of

mesh erosion is too common. With that premise in mind, the accrual of

Plaintiff’s claim was not delayed even if she reasonably believed that

mesh erosion is a common side effect of mesh implant surgery.

Knowledge of mesh erosion is still the trigger for a lawsuit about mesh

erosion, especially when coupled with knowledge that “something was

wrong” with the mesh product.



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     More fundamentally, Plaintiff’s argument that her symptoms

needed to be “sufficiently dramatic” to provide her notice confuses two

lines of Florida precedent: “undiagnosed cases” and “diagnosed cases.”

When a plaintiff hasn’t yet been told that a product caused her injury,

she is not on notice unless her injury is “distinct in some way from

conditions naturally to be expected from the plaintiff’s condition.” Babush

v. Am. Home Prod. Corp., 589 So. 2d 1379, 1381 (Fla. Dist. Ct. App. 1991).

Accordingly, some symptoms do not, in and of themselves, provide a

plaintiff with sufficient notice as a matter of law. Examples from medical

malpractice cases include a patient experiencing pain post-surgery,

Gonzalez v. Tracy, 994 So. 2d 402, 405 (Fla. Dist. Ct. App. 2008), or a

child developing cerebral palsy after delivery, Mobley v. Homestead

Hosp., Inc., 291 So. 3d 987, 991–92 (Fla. Dist. Ct. App. 2019). But some

symptoms, like going blind after a routine colon operation, are so clearly

the result of negligence that they put a plaintiff on notice as a matter of

law. Barron v. Shapiro, 565 So. 2d 1319, 1321 (Fla. 1990), holding

modified by Tanner v. Hartog, 618 So. 2d 177 (Fla. 1993).

     But this dichotomy does not apply to “diagnosed cases” like this one,

where Plaintiff was told that a product (mesh) caused her injury (“mesh



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erosion”) and understood that something was wrong with the product.

Florida courts have consistently held that actual knowledge of the cause

of an injury triggers the statute of limitations. Brown & Williamson, 778

So. 2d at 934; Spiewak, 73 So. 3d at 127; Bogorff, 583 So. 2d at 1004.

Where a plaintiff already knows what caused her injury, it would make

no sense to require that her injury also be distinct enough to

independently put her on notice.

II.   Alternatively, This Court Should Certify The Question To
      The Florida Supreme Court

      If this Court is uncertain as to whether Plaintiff’s claim is time-

barred as a matter of law, it should certify the following question to the

Florida Supreme Court:

      In a product-liability lawsuit alleging that a defectively
      designed mesh device eroded and thereby caused pelvic pain,
      does Florida Statute § 95.031(2)(b) begin to accrue as a matter
      of law when the plaintiff is diagnosed with an erosion of the
      mesh causing pelvic pain, and the plaintiff also knows that
      “something was wrong” with the mesh device? 3




3      Of course, neither the presentation of the issue nor the phrasing of
the question are meant to be binding on this Court or the Florida
Supreme Court. Salinas v. Ramsey, 858 F.3d 1360 (11th Cir. 2017),
certified question answered, 234 So. 3d 569 (Fla. 2018).

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     Certification is appropriate where “[t]he questions presented are

[A] sufficiently unsettled, [B] important, and [C] likely to recur.” In re

Cassell, 688 F.3d 1291, 1292 (11th Cir. 2012), certified question answered

sub nom. Silliman v. Cassell, 292 Ga. 464, 738 S.E.2d 606 (2013).

     A.    If the question presented is not clear in Coloplast’s
           favor, then it is at least unsettled

     As already explained, several Florida cases indicate that a

diagnosis that links the injury to the product, along with the plaintiff’s

knowledge that “something was wrong with the product,” easily triggers

Florida’s statute of limitations. See, e.g., Brown & Williamson, 778 So.

2d at 934; Spiewak, 73 So. 3d at 127; Bogorff, 583 So. 2d at 1004. If,

however, the Court is left with any doubt about whether Florida law is

clear on this point, it should at least conclude that Florida law is

unsettled. No Florida appellate court has had a chance to weigh in on

the application of the statute of limitations in a pelvic mesh case, and no

Florida appellate court has adopted the legal positions regarding the

statute of limitations advanced by Plaintiff here. If this Court were to

consider adopting those positions, federalism and comity dictate that a

Florida court, and not the federal courts, should have first say.




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     At least two of Plaintiff’s arguments represent significant

departures from established Florida law that should not be adopted

without the Florida Supreme Court’s input. First, the district court

imposed a “distinct injury” requirement in this case based on its reading

of Eghnayem. But the Florida Supreme Court has never imposed such a

requirement in a product-liability case, much less in a case where a

plaintiff has been told of the source of her injury. As explained supra at

37-38, where a plaintiff already knows what caused her injury, it would

make no sense to require that her injury also be distinct enough to

independently put her on notice.

     The district court adopted the “distinct injury” language from

Eghnayem, 873 F.3d at 1323, which in turn got it from Babush v. Am.

Home Prod. Corp., 589 So. 2d 1379, 1381 (Fla. Dist. Ct. App. 1991), a case

that did not involve a diagnosis with a link to the product, see id. at 1380

(“There is no evidence that any correlation between the drug and the

disease was mentioned in connection with the diagnosis.”). Babush also

antecedes the Florida Supreme Court’s ruling in Brown & Williamson,

which imposed no “distinct injury” requirement and only required “some

evidence of causal connection” between injury and the product” for the



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claim to accrue. 778 So.2d at 934. The Florida Supreme Court should

decide whether an additional “distinct injury” requirement exists in

product liability cases where the plaintiff received a diagnosis that links

the injury to the product.

     Second, Plaintiff has argued that knowledge of a product defect is

required to start the limitations period. As discussed earlier, the Florida

Supreme Court has never imposed such a requirement in any of its

product liability cases. See, e.g., Brown & Williamson, 778 So. 2d at 934;

Spiewak, 73 So. 3d at 127; Bogorff, 583 So. 2d at 1004. But, in fairness,

the Supreme Court has required something similar in the context of

medical malpractice cases, holding in Tanner v. Hartog, 618 So. 2d 177

(Fla. 1993), that the defendant must prove the plaintiff’s actual or

constructive knowledge of “a reasonable possibility that the injury was

caused by medical malpractice.” Id. at 181.

      There is serious doubt whether the Florida Supreme Court would

take the same approach in a product liability case, as the relevant policy

considerations are different.    For decades, Florida’s “Nardone rule”

dictated that in a medical malpractice suit, “the statute of limitations

commences either when the plaintiff has notice of the negligent act giving



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rise to the cause of action or when the plaintiff has notice of the physical

injury which is the consequence.” Nardone v. Reynolds, 333 So. 2d 25, 32

(Fla. 1976) (emphases added). Under that rule, a plaintiff could not bring

a medical malpractice action more than two years after they were

harmed, even if they had no reason to know their injury was caused by

medical negligence. See Bogorff, 583 So. 2d at 1002.

     That rule changed in Tanner. There, the Florida Supreme Court

noted that strict application of the Nardone rule “may not produce just

or even reasonable results,” particularly where a patient’s injury may be

“a result of natural causes rather than . . . medical negligence.” Id. at

181. In those circumstances, “[t]he Nardone rule tend[ed] to put a strain

on the doctor-patient relationship because whenever something bad

happens in the course of medical treatment, the patient must make an

early investigation of the possibility of malpractice.” Id. In light of those

unique concerns, the Tanner court crafted a new rule for medical

malpractice actions: “the knowledge of the injury as referred to in the

rule as triggering the statute of limitations means not only knowledge of

the injury but also knowledge that there is a reasonable possibility that

the injury was caused by medical malpractice.” Id.



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     Importantly, the Florida Supreme Court has given no indication

that the more lenient rule from Tanner applies in the product-liability

context. Given that the Tanner rule was motivated by the unique doctor-

patient relationship, it should not be casually assumed that the Florida

Supreme Court would superimpose that rule onto the product-liability

context. To Coloplast’s knowledge, Bogorff is the only case where the

Florida Supreme Court has considered a medical malpractice claim

alongside a product-liability claim, see 583 So. 2d at 1001, and there the

court sequestered its analysis, considering each claim separately. Id. at

1004. There was no indication in Bogorff that medical malpractice and

product liability caselaw are interchangeable.

     And in Brown & Williamson, the first product-liability case decided

after Tanner, the Florida Supreme Court merely required “some evidence

of causal connection” of the injury to the product for the claim to accrue—

not knowledge of a product defect. 778 So. 2d at 934. If knowledge of the

defect were required for the claim to accrue, the Supreme Court would

have said so.

     At the very least, it is “sufficiently unsettled” that the Florida

Supreme Court would apply the district court’s approach to Plaintiff’s



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product liability claim. In re Cassell, 688 F.3d at 1292. If this Court were

to consider adopting these novel expansions, then certification would

“promot[e] the interests of cooperative federalism [and] help[ ] save time,

energy, and resources.” King v. King, 46 F.4th 1259, 1267 (11th Cir. 2022)

(citation omitted) (cleaned up).

     B.    The question presented is important

     “Statutes of limitations are not simply technicalities. On the

contrary, they have long been respected as fundamental to a well-ordered

judicial system.” Bd. of Regents of Univ. of State of N.Y. v. Tomanio, 446

U.S. 478, 487 (1980).      In passing section 95.031(2)(b), the Florida

Legislature decided that a delay of more than four years “is sufficiently

likely to either impair the accuracy of the fact-finding process or to upset

settled expectations that a substantive claim will be barred.” Id. That

determination undergirds “important policy considerations,” including

promoting settlement and reducing uncertainty.           Allstate Ins. Co. v.

Metro. Dade Cnty., 436 So. 2d 976, 980 (Fla. Dist. Ct. App. 1983).

     Here, the district court held that a plaintiff’s actual knowledge that

a defective product harmed her, along with awareness that something

was wrong with the product, is not sufficient to trigger the statute of



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limitations.   Legal merits aside, that decision has the potential to

significantly increase the cost of medical products for ordinary

Floridians, who will have to subsidize the cost of a longer statute of

limitations. That policy decision is best made by the Florida judiciary—

not a federal court.

     C.    The question presented is likely to recur

     Product-liability suits, including pelvic mesh cases, constitute a

hefty portion of a federal court’s docket. Thousands of mesh cases, along

with other medical device cases, remain pending in the federal courts,

including hundreds in Florida alone. Without certification, federal courts

will continue to make Erie guess after Erie guess, with each incorrect

guess compounding the effects of the decision before it.

     In fact, federal district courts have already reached diverging

results in Florida medical device cases. Compare Sotolongo v. Ethicon,

Inc., 591 F. Supp. 3d 1242 (S.D. Fla. 2022) (holding that a vaginal mesh

claim was time-barred where plaintiff was diagnosed with mesh erosion

more than four years earlier), with Boneta v. Am. Med. Sys., Inc., 524 F.

Supp. 3d 1304, 1312–15 (S.D. Fla. 2021) (holding, under Eghnayem, the

claim did not even accrue upon first mesh revision surgery), and Pirlein



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v. Ethicon, Inc., No. 20-62202-CIV, 2021 WL 4990612, at *3–5 (S.D. Fla.

Oct. 1, 2021) (similar).

     In sum, while certification is not required because Florida law is

clear that Plaintiff’s claim is time-barred, if this Court has any doubt on

that score, then it should let the Florida Supreme Court do what it does

best—decide questions of Florida law.

                              CONCLUSION

     This Court should reverse and remand with instructions to enter

judgment for Coloplast. Alternatively, this Court should certify the

issue to the Florida Supreme Court.

                                           Respectfully submitted,

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Date: January 6, 2023

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     I hereby certify that on January 6, 2023, I electronically filed the

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